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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,

                             Plaintiff,                    JURY INSTRUCTIONS
       v.                                                  Criminal No. 18-215(2) ADM/TNL

Brandon Dante Brooks-Davis,

                             Defendant.


______________________________________________________________________________

Thomas Calhoun-Lopez, Assistant United States Attorney, United States Attorney’s Office,
Minneapolis, MN, on behalf of Plaintiff.

A.L. Brown, Capitol City Law Group, LLC, St. Paul, MN on behalf of Defendant Brandon Dante
Brooks-Davis
______________________________________________________________________________


                             Date submitted to jury: April 17, 2019
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                                       INSTRUCTION NO. 1

        MEMBERS OF THE JURY:

        Now that you have heard all of the evidence to be received in this trial and each of the

arguments of counsel it becomes my duty to give you the final instructions of the Court as to the

law that is applicable to this case and which will guide you in your decisions.

        All of the instructions of law given to you by the Court--those given to you at the

beginning of the trial, those given to you during the trial, and these final instructions--must guide

and govern your deliberations. The instructions I am about to give you now are in writing and

will be available to you in the jury room. I emphasize, however, that this does not mean they are

more important than my earlier instructions. Again, all instructions, whenever given and

whether in writing or not, must be followed.

        It is your duty as jurors to follow the law as stated in all of the instructions of the Court,

and to apply these rules of law to the facts as you find them from the evidence received during

the trial.

        Counsel have quite properly referred to some of the applicable rules of law in their

closing arguments to you. If, however, any difference appears to you between the law as stated

by counsel and that as stated by the Court in these instructions, you, of course, are to be

governed by the instructions given to you by the Court.

        You are not to single out any one instruction alone as stating the law, but must consider

the instructions as a whole in reaching your decisions.

        Neither are you to be concerned with the wisdom of any rule of law stated by the Court.

Regardless of any opinion you may have as to what the law ought to be, it would be a violation

of your sworn duty to base any part of your verdict upon any other view or opinion of the law
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than that given in these instructions of the Court just as it would be a violation of your sworn

duty, as judges of the facts, to base your verdict upon anything but the evidence received in the

case.

         You were chosen as jurors for this trial in order to evaluate all of the evidence received

and to decide each of the factual questions presented by the allegations brought by the

government in the Indictment and the plea of not guilty by Brandon Dante Brooks-Davis.

         In deciding the issues presented to you for decision in this trial you must not be

persuaded by bias, prejudice, or sympathy for or against any of the parties to this case or by any

public opinion.

         Justice through trial by jury depends upon the willingness of each individual juror to seek

the truth from the same evidence presented to all the jurors here in the courtroom and to arrive at

a verdict by applying the same rules of law as now being given to each of you in these

instructions of the Court.
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                                     INSTRUCTION NO. 2

       You are expected to use your good sense in considering and evaluating the evidence in

the case for only those purposes for which it has been received and to give such evidence a

reasonable and fair construction in the light of your common knowledge of the natural

tendencies and inclinations of human beings.

       If Brandon Dante Brooks-Davis is proven guilty beyond a reasonable doubt, say so. If

not proven guilty beyond a reasonable doubt, say so.

       Keep constantly in mind that it would be a violation of your sworn duty to base a verdict

upon anything other than the evidence received in the case and the instructions of the Court.

Remember as well that the law never imposes upon a defendant in a criminal case the burden or

duty of calling any witnesses or producing any evidence because the burden of proving guilt

beyond a reasonable doubt is always assumed by the government.
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                                     INSTRUCTION NO. 3

       You have been allowed to take notes during the course of the trial, and you may take

these notes with you to the jury room. You should not consider these notes binding or

conclusive, whether they are your notes or those of another juror. The notes should be used as

an aid to your memory and not as a substitute for it. You should not give greater weight to a

particular bit of evidence solely because it has been reduced to writing. I want to make clear to

you that it is your recollection of the evidence which should control, and you should disregard

anything contrary to your own recollection which may appear from your own notes or those of

another juror.
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                                     INSTRUCTION NO. 4

       It is your duty to find from the evidence what the facts are. You will then apply the law,

as I give it to you, to those facts. You must follow my instructions on the law, even if you

thought the law was different or should be different. Do not allow sympathy or prejudice to

influence you. The law demands of you a just verdict, unaffected by anything except the

evidence, your common sense, and the law as I give it to you.
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                                     INSTRUCTION NO. 5

       I have mentioned the word “evidence.” The evidence in this case consists of the sworn

testimony of the witnesses, regardless of who may have called them, all exhibits received in

evidence, regardless of who may have produced them, and all facts which may have been

admitted to or stipulated.

       When the attorneys on both sides stipulate or agree as to the existence of a fact, you may

accept the stipulation as evidence and regard that fact as proved. You are not required to do so,

however, since you are the sole judge of the facts.

       Certain things are not evidence. I shall list those things for you now:

       l. Statements, arguments, questions and comments by lawyers representing the parties in

the case are not evidence.

       2. Objections are not evidence. Lawyers have a right to object when they believe

something is improper. You should not be influenced by the objection. If I sustained an

objection to a question, you must ignore the question and must not try to guess what the answer

might have been.

       3. Testimony that I struck from the record, or told you to disregard, is not evidence and

must not be considered.

       4. Anything you saw or heard about this case outside the courtroom is not evidence.

       If any reference by the Court or by counsel to matters of testimony or exhibits does not

coincide with your recollection of that evidence, it is your recollection which should control

during your deliberations and not the statement of the Court or of counsel. You are the sole

judges of the evidence received in this case.
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                                      INSTRUCTION NO. 6

       Some of you may have heard the terms “direct evidence” and “circumstantial evidence.”

You are instructed that you should not be concerned with those terms. The law makes no

distinction between direct and circumstantial evidence. You should give all evidence the weight

and value you believe it is entitled to received.
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                                      INSTRUCTION NO. 7

       You, as jurors, are the sole and exclusive judges of the credibility of each of the

witnesses called to testify in this case and only you determine the importance or the weight that

their testimony deserves. After making your assessment concerning the credibility of a witness,

you may decide to believe all of that witness’s testimony, only a portion of it, or none of it.

       In making your assessment you should carefully scrutinize all of the testimony given, the

circumstances under which each witness has testified, and every matter in evidence which tends

to show whether a witness, in your opinion, is worthy of belief. Consider each witness’s

intelligence, motive to falsify, state of mind, and appearance and manner while on the witness

stand. Consider the witness's ability to observe the matters as to which he or she has testified

and consider whether he or she impresses you as having an accurate memory or recollection of

these matters. Consider also any relation a witness may bear to either side of the case, the

manner in which each witness might be affected by the verdict, and the extent to which, if at all,

each witness is either supported or contradicted by other evidence in the case.

       Inconsistencies or discrepancies in the testimony of a witness or between the testimony

of different witnesses may or may not cause you to disbelieve or discredit such testimony. Two

or more persons witnessing an incident or a transaction may simply see or hear it differently.

Innocent misrecollection, like failure of recollection, is not an uncommon experience. In

weighing the effect of discrepancy, however, always consider whether it pertains to a matter of

importance or an insignificant detail and consider whether the discrepancy results from innocent

error or intentional falsehood.

       After making your own judgment or assessment concerning the believability of a witness,

you can then attach such importance or weight to that testimony, if any, that you feel it deserves.
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You will then be in a position to decide whether the government has proven the charge beyond a

reasonable doubt.
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                                       INSTRUCTION NO. 8

       The testimony of a witness may be discredited or, as we sometimes say, impeached, by

showing that they previously made statements which are different than or inconsistent with their

testimony here in court. The earlier inconsistent or contradictory statements are admissible only

to discredit or impeach the credibility of the witness, and not to establish the truth of these earlier

statements made somewhere other than here during this trial. It is the province of the jury to

determine the credibility of a witness who has made prior inconsistent or contradictory

statements.

       If a person is shown to have knowingly testified falsely concerning any important or

material matter, you obviously have a right to distrust the testimony of such an individual

concerning other matters. You may reject all of the testimony of that witness or give it such

weight or credibility as you may think it deserves.
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                                      INSTRUCTION NO. 9

       You are not required to accept testimony, even though the testimony is uncontradicted

and the witness is not impeached. You may decide, because of the witness’ bearing and

demeanor, or because of the inherent improbability of their testimony, of for other reasons

sufficient to you, that such testimony is not worthy of belief.
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                                    INSTRUCTION NO. 10

       You have heard evidence that Donta Adams entered a plea of guilty to a crime which

arose out of the same events for which the defendant is on trial here. You must not consider that

guilty plea as any evidence of this defendant's guilt. You may consider that witness' guilty plea

only for the purpose of determining how much, if at all, to rely upon his testimony.
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                                     INSTRUCTION NO. 11

       You have heard evidence that Donta Adams hopes to receive a reduced sentence on

criminal charges pending against him in return for his cooperation with the government in this

case. Donta Adams entered into an agreement with the United States Attorney's Office which

provides that in return for his assistance, the government will recommend a less severe sentence.

If the prosecutor handling this witness' case believes he provided substantial assistance, that

prosecutor can file in the court in which the charges are pending against this witness a motion to

reduce his sentence. If such a motion for reduction of sentence for substantial assistance is filed

by the government, then it is up to the judge to decide whether to reduce the sentence at all, and

if so, how much to reduce it.

       You may give the testimony of this witness such weight as you think it deserves.

Whether or not testimony of a witness may have been influenced by his hope of receiving a

reduced sentence is for you to decide.
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                                     INSTRUCTION NO. 12

       You have heard the testimony of various law enforcement officers. The fact that a

witness may be employed as a policeman or law enforcement officer does not mean that their

testimony is necessarily deserving of more or less consideration or greater or lesser weight than

that of an ordinary witness.

       At the same time, it is quite legitimate for defense counsel to try to attack the credibility

of a law enforcement witness on the grounds that their testimony may be colored by a personal

or professional interest in the outcome of the case.

       It is your decision, after reviewing all of the evidence, whether to accept the testimony of

the law enforcement witness and to give to that testimony whatever weight, if any, you find it

deserves.
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                                     INSTRUCTION NO. 13

       The rules of evidence ordinarily do not permit witnesses to testify as to their own

opinions about issues in the case. An exception to this rule exists as to those witnesses who are

described as “expert witnesses.” An “expert witness” is someone who, by education or by

experience, may have become knowledgeable in some technical, scientific, or very specialized

area. If such knowledge or experience may be of assistance to you in understanding some of the

evidence or in determining a fact, an “expert witness” in that area may state an opinion as to

relevant and material matter in which he or she claims to be an expert.

       You should consider each expert opinion received in evidence in this case and give it

such weight as you may think it deserves. You should consider the testimony of expert

witnesses just as you consider other evidence in this case. If you should decide that the opinion

of an expert witness is not based upon sufficient education or experience, or if you should

conclude that the reasons given in support of the opinion are not sound, or if you should

conclude that the opinion is outweighed by other evidence including that of other “expert

witnesses,” you may disregard the opinion in part or in its entirety.

       As I have told you several times, you the jury are the sole judges of the facts of this case.
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                                     INSTRUCTION NO. 14

       Mr. Brooks-Davis did not testify in this case. Under our constitution, he has no

obligation to testify or to present any other evidence because it is the prosecution's burden to

prove a defendant guilty beyond a reasonable doubt. That burden remains with the prosecution

throughout the entire trial and never shifts to the defendant. The defendant is never required to

prove that he is innocent.

       You must not attach any significance to the fact that Mr. Brooks-Davis did not testify.

Remember that there are many reasons that an innocent defendant might not testify. No adverse

inference against him may be drawn by you because he did not take the witness stand. You must

not consider this against the defendant in any way in your deliberations in the jury room.
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                                    INSTRUCTION NO. 15

       Brandon Dante Brooks-Davis is not on trial for any acts or crimes not specifically alleged

in the Indictment.
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                                     INSTRUCTION NO. 16

       The Indictment in this case charges Brandon Dante Brooks-Davis with four crimes.

Counts One through Three charge that Brandon Dante Brooks-Davis committed the crime of

possessing a firearm after having been convicted of one or more felonies. Count Four charges

that Brandon Dante Brooks-Davis committed the crime of possessing an unregistered firearm.

Brandon Dante Brooks-Davis has pleaded not guilty to each of these charges.

       As I told you at the beginning of the trial, an Indictment is simply an accusation. It is not

evidence of anything. To the contrary, Brandon Dante Brooks-Davis is presumed to be innocent.

Thus Brandon Dante Brooks-Davis, even though charged, begins the trial with no evidence

against him. The presumption of innocence alone is sufficient to find Brandon Dante Brooks-

Davis not guilty and can be overcome only if the government proves, beyond a reasonable doubt,

each essential element of the crime charged.

       There is no burden upon a defendant to prove that he is innocent. Accordingly, the fact

that the defendant did not testify must not be considered by you in any way, or even discussed, in

arriving at your verdict.

       The burden is always upon the prosecution to prove guilt beyond a reasonable doubt.

This burden never shifts to a defendant for the law never imposes upon a defendant in a criminal

case the burden or duty of calling any witnesses or producing any evidence. The defendant is

not even obligated to produce any evidence by cross-examining the witnesses for the

government.

       It is not required that the government prove guilt beyond all possible doubt. The test is

one of reasonable doubt. A reasonable doubt is a doubt based upon reason and common sense,

and not the mere possibility of innocence. A reasonable doubt is the kind of doubt that would
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make a reasonable person hesitate to act. Proof beyond a reasonable doubt must, therefore, be

proof of such a convincing character that a reasonable person would not hesitate to rely and act

upon it in the most important of his or her own affairs.

       Keep in mind that each count charges a separate crime. You must consider each count

separately, and return a separate verdict for each count. Unless the government proves, beyond a

reasonable doubt, that Brandon Dante Brooks-Davis has committed each and every element of

the offense charged in the Indictment, you must find Brandon Dante Brooks-Davis not guilty of

that offense. If the jury after careful and impartial consideration of all the evidence in this case,

views the evidence as reasonably permitting either of two conclusions--one of not guilty, the

other guilty--the jury must, of course, adopt the conclusion of not guilty.
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                        INSTRUCTION NO. 17




                     [READ THE INDICTMENT]
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                                      INSTRUCTION NO. 18

       It is a crime for a felon to possess a firearm, as charged in Counts One through Three of

the Indictment. This crime has three elements, which are:

       One, the defendant had been convicted of a crime punishable by imprisonment for more

than one year;

       Two, after that, the defendant knowingly possessed firearms.

       For Count 1, these firearms are the firearms found in the safe: a Beretta model 92FS

9mm semi-automatic pistol bearing serial number BER021446; a Smith & Wesson model

SW9VE 9mm semi-automatic pistol bearing serial number PBU6610; and a Ruger model P91

DC .40 caliber semi-automatic pistol bearing serial number 34008950.

       For Count 2, this firearm is a Glock model 27 .40 caliber semi-automatic pistol bearing

serial number HPB411.

       For Count 3, this firearm is a Glock model 21 .45 caliber semi-automatic pistol bearing

serial number BECS686.

       And:

       Three, that the firearms in each count was transported across a state line at some time

during or before the defendant's possession of it.

       You are instructed that the government and the defendant have stipulated, that is, agreed,

that the defendant has been convicted of one or more crimes punishable by imprisonment for

more than one year, and you must consider the first element as proven.

       If all of the elements have been proved beyond a reasonable doubt as to the defendant,

then you must find the defendant guilty of the crime charged; otherwise you must find the

defendant not guilty of this crime.
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                                       INSTRUCTION NO. 19

          It is a crime to possess an unregistered firearm as charged in Count Four of the

Indictment. This crime has five elements, which are:

          One, on or about August 7, 2018, the defendant knew he had a firearm in his possession;

          Two, the defendant knew the firearm had a barrel length of less than sixteen inches;

          Three, the firearm was capable of operating as designed;

          Four, the firearm was not registered to the defendant in the National Firearms

Registration and Transfer Record; and

          Five, the government must prove that the firearm had a barrel length of less than sixteen

inches.

          If all of the elements have been proved beyond a reasonable doubt as to the defendant,

then you must find the defendant guilty of the crime charged; otherwise you must find the

defendant not guilty of this crime.
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                                     INSTRUCTION NO. 20

        The law recognizes several kinds of possession. A person may have actual possession or

constructive possession. A person may have sole or joint possession.

        A person who knowingly has direct physical control over a thing, at a given time, is then

in actual possession of it.

        A person who, although not in actual possession, has both the power and the intention at

a given time to exercise dominion or control over a thing, either directly or through another

person or persons, is then in constructive possession of it.

        If one person alone has actual or constructive possession of a thing, possession is sole. If

two or more persons share actual or constructive possession of a thing, possession is joint.

        Whenever the word "possession" has been used in these instructions it includes actual as

well as constructive possession and also sole as well as joint possession.
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                                     INSTRUCTION NO. 21

       Brandon Dante Brooks-Davis’ defense is that the government has failed to meet its

burden of proving the element of possession for each count charged in the Indictment. The

defendant argues he was merely present where the firearms were found and did not have

possession of the firearms, as defined in Instruction No. 20.
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                                   INSTRUCTION NO. 22

       The statutes involved here prohibit the knowing possession of a firearm. The

government is not required to prove that the defendant owned the firearm. Ownership is

immaterial. The taking or temporary possession of a firearm may be the basis for a conviction of

possessing a firearm.
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                                    INSTRUCTION NO. 23

       Intent or knowledge may be proved like anything else. You may consider any statements

made and acts done by a defendant, and all the facts and circumstances in evidence which may

aid in a determination of a defendant's knowledge or intent.

       You may, but are not required to, infer that a person intends the natural and probable

consequences of acts knowingly done or knowingly omitted.
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                                    INSTRUCTION NO. 24

       The Indictment alleges that the offense charged occurred “on or about” a certain date.

       Although it is necessary for the government to prove beyond a reasonable doubt that the

offenses were committed on a date reasonably near the time frame alleged in the Indictment, it is

not necessary for the government to prove that the offenses were committed precisely on the date

charged.
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                                     INSTRUCTION NO. 25

       Upon retiring to your jury room to begin your deliberation, you will elect one of your

members to act as your presiding juror. The presiding juror will preside over your deliberations

and will be your spokesperson here in court.

       Your verdict must represent the collective judgment of the jury. In order to return a

verdict, it is necessary that each juror agree to it. Your verdict, in other words, must be

unanimous.

       It is your duty as jurors to consult with one another and to deliberate with one another

with a view towards reaching an agreement if you can do so without violence to individual

judgment. Each of you must decide the case for himself and herself, but do so only after an

impartial consideration of the evidence in the case with your fellow jurors. In the course of your

deliberations, do not hesitate to reexamine your own views and change your opinion if

convinced it is erroneous. But do not surrender your honest conviction, however, solely because

of the opinion of your fellow jurors or for the mere purpose of returning a verdict.

       Remember at all times that you are not partisans. You are judges--judges of the facts of

this case. Your sole interest is to seek the truth from the evidence received during the trial.

       Your verdict must be based solely upon the evidence received in the case. Nothing you

have seen or read outside of court may be considered. Nothing that I have said or done during

the course of this trial is intended in any way, to somehow suggest to you what I think your

verdict should be. Nothing said in these instructions and nothing in any form of verdict prepared

for your convenience is to suggest or convey to you in any way or manner any intimation as to

what verdict I think you should return. What the verdict shall be is the exclusive duty and

responsibility of the jury. As I have told you many times, you are the sole judges of the facts.
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       The punishment provided by law for the offense charged in the Indictment is a matter

exclusively within the province of the Court and should never be considered by the jury in any

way in arriving at an impartial verdict as to the offense charged.

       A Form of Verdict has been prepared for your convenience.

       READ THE FORM OF VERDICT TO THE JURY.

       You will take this form to the jury room and, when you have reached unanimous

agreement as to your verdict, you will have your presiding juror write your verdict, date and sign

the form, and then return with your verdict to the courtroom.

       If it becomes necessary during your deliberations to communicate with the Court, you

may send a note, signed by your presiding juror or by one or more members of the jury, through

the court security officer. No member of the jury should ever attempt to communicate with the

Court by any means other than a signed writing and the Court will never communicate with any

member of the jury on any subject touching the merits of the case other than in writing or orally

here in open court.

       You will note from the oath about to be taken by the court security officers that they too,

as well as all other persons, are forbidden to communicate in any way or manner with any

member of the jury on any subject touching the merits of the case.

       Bear in mind also that you are never to reveal to any person--not even to the Court--how

the jury stands, numerically or otherwise, on the question of whether or not the government has

sustained its burden of proof until after you have reached a unanimous verdict.
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                                     INSTRUCTION NO. 26

       Your duty is to both the United States and the defendant. They each have a right to

expect that you will see that justice is done. Your responsibility should be borne courageously

and without fear or favor. It is not an arbitrary power, but one that must be exercised with

fairness, sincere judgment and sound discretion.

       The final test of the quality of your service will lie in the verdict you return to the Court,

not in the opinions any of you hold as you retire from the case. Remember, you are not partisans

nor advocates but triers of fact.
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                                    INSTRUCTION NO. 27

       Counsel, do either of you wish to call to the Court’s attention any errors, omissions or

corrections in the charge? If so, would you please come forward to the Bench.

       The Court Security Officer will be sworn.
